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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA
                               Case No. 18-24190-CIV-SMITH
   WILLIAM O. FULLER, and
   MARTIN PINILLA, II,

         Plaintiffs,
   v.

   JOE CAROLLO,

         Defendant.
                                               /



     DEFENDANT JOE CAROLLO, AND NON-PARTY MARJORIE CAROLLO’S REPLY IN
    SUPPORT OF THEIR EMERGENCY MOTION FOR STAY AND ALTERNATIVELY FOR
       TEMPORARY INJUNCTIVE RELIEF FROM ADVERTISED PENDING SALE OF
                   HOMESTEAD PROPERTY ON MARCH 19, 2024
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           Defendant Joe Carollo (“Mr. Carollo”), and Non-Party Marjorie Carollo (“Mrs. Carollo”)
  (collectively, the “Carollos”), file their Reply in Support of their Emergency Motion for Stay and
  Alternatively for Temporary Injunctive Relief from Advertised Pending Sale (the “Sale”) of
  Homestead Property on March 19, 2024 (DE 628) (the “Motion”) (DE 632) (the “Response”).1
      I.      Introduction

           Plaintiffs have conceded that this Court should expeditiously enter an Order staying
  the Sale until the homestead status has been determined. By requesting an evidentiary hearing
  and discovery on the homestead status of the Carollos’ property located at 3230 Morris Lane (the
  “Homestead Property”) and filing an 18-page Response with 170 pages of exhibits arguing about
  same, Plaintiffs have conceded the relief sought in the Motion. Moreover, Plaintiffs fail to address
  or rebut that Florida law dictates the sale must be stayed pending determination of the homestead
  claim. See § 222.02, Florida Statutes. Finally, the Response does not and cannot rebut each of Mr.
  and Mrs. Carollo’s assertions that a stay or temporary injunction is warranted to avoid irreparable
  harm, is favored by public policy, and that the harm to the Carollos far outweighs any prejudice to
  Plaintiffs. Accordingly, the Motion must be granted and the Court need look no further into the
  merits of Mr. and Mrs. Carollo’s homestead designations in determining the present Motion.
           Plaintiffs’ Response misses the point. After conceding the relief sought in the Motion, the
  Response incorrectly asserts this Court has jurisdiction to determine homestead and neither Mr.
  nor Mrs. Carollo are entitled to homestead protection. At this time, the only question to be
  determined by this Court is whether to stay the Sale pending the homestead determination, and
  since Plaintiffs have conceded the determination must be made, the Court should enter a stay of
  the Sale. See § II, infra.
           As to Plaintiffs’ assertion that this Court can determine homestead, Plaintiffs’ assertion is
  incorrect. Under governing Florida law, the Florida circuit court has exclusive jurisdiction to
  determine homestead. See §§ 222.01(2), 222.08, Florida Statutes; Sepulveda v. Westport Recovery
  Corp., 145 So.3d 162, 167 (Fla. 3d DCA 2014) (“The circuit court has exclusive jurisdiction to
  determine the validity of a claimed homestead exemption.”). See § II, infra. Plaintiffs provide no



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   As part of Plaintiffs’ Response (DE 632) they filed a combined “Cross-Motion for Expedited
  Discovery; and Request for Evidentiary Hearing”. The Clerk separated Plaintiffs’ Motion for
  Evidentiary Hearing (DE 633), and therefore Defendant will separately respond to same.
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  contrary authority other than bankruptcy cases in which the debtors voluntarily invoked the
  bankruptcy court’s protection and jurisdiction, which is not the case here.
         Moreover, Plaintiffs incorrectly argue that both Mr. and Mrs. Carollo are not entitled to the
  homestead exemption. First, this is an issue for another day and another court. Second, Plaintiffs’
  Response misstates Florida law regarding homestead protection and seeks to have this Court create
  a new exception and answer the wrong questions. Plaintiffs’ Response seeks to have this Court
  answer whether Mr. Carollo abandoned his Homestead Property and whether the City of Miami’s
  legislative function of redrawing district boundaries should result in disqualification and forfeiture
  of Mr. Carollo’s Constitutional homestead protection.
      The questions that must be answered by a court with jurisdiction per § 222.01, et seq., are:
      1. On February 1, 2024, assuming that Plaintiffs’ recorded judgment was perfected, had
         Mr. Carollo established the Homestead Property as his homestead?

      2. On February 1, 2024, assuming that Plaintiffs’ recorded judgment was perfected, had
         Mrs. Carollo established the Homestead Property as her homestead?
         If either or both questions are answered in the affirmative, the Homestead Property is
  exempt from Plaintiffs’ execution.
         Florida law is clear that each of the Carollos established the Homestead Property as their
  Constitutionally protected homestead before February 1, 2024, which is the earliest date an alleged
  judgment lien could exist. See, e.g., Bessemer Properties, Inc. v. Gamble, 158 Fla. 38, 40 (Fla.
  1946) (“It is only necessary that the homestead status attaches prior to the attachment of the
  creditors’ lien.”); Nationwide Fin. Corp. v. Thompson, 400 So. 2d 559, 561 (Fla. 1st DCA 1981);
  Bendl v. Bendl, 246 So. 2d 574, 577 (Fla. 3d DCA 1971).2
         Plaintiffs’ vitriolic accusations against Mr. Carollo of fraud, corruption, deception,



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   The earliest possible alleged judgment lien is February 1, 2024. See Plaintiffs’ Levying Creditor
  Affidavit Pursuant to Florida Statute § 56.27 dated February 1, 2024, which is the date that the
  judgment was re-recorded due to errors with Plaintiffs’ initial recording attempt (DE 628-1). By
  Plaintiffs’ own concession in re-recording the judgment, they failed to strictly comply with the
  statutory requirements of § 55.10 and Chapter 56, Florida Statutes, as required. See, e.g., Dyer v.
  Beverly & Tittle, P.A., 777 So. 2d 1055, 1058 (Fla. 4th DCA 2001) (“We held that strict compliance
  with section 55.10(1) was required.”); Menotte v. King, 463 B.R. 555, 566 (Bankr. S.D. Fla. 2011)
  (“the thirty day notice requirement in Fla. Stat. § 56.21 must be strictly applied.”). Each of the
  Carollos expressly reserve and do not waive all arguments contesting the February 1, 2024 alleged
  judgment lien including but not limited to arguments that Plaintiffs have failed to perfect a lien
  and arguments contesting the validity and propriety of any such lien.
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  misrepresentation, bad faith, gerrymandering, and misconduct are unavailing. Both Mr. and Mrs.
  Carollo are each, separately, entitled to homestead protection under the Florida Constitution and
  there is no exception which applies. Plaintiffs do not and cannot attack Mrs. Carollo for such
  behavior. Her entitlement to homestead is absolute.
            Plaintiffs are attempting to create a new exception to Florida’s strong homestead protection
  that does not exist. Similar arguments have been made by creditors for years and the courts
  regularly reject these arguments and hold there is no exception in cases involving a debtor’s
  specific intent to defraud a creditor and other such arguments. The Florida Supreme Court made
  this crystal clear in Havoco of Am. v. Hill, 790 So. 2d 1018, 1030 (Fla. 2001) (emphasis added),
  stating, “a homestead acquired by a debtor with the specific intent to hinder, delay, or defraud
  creditors is not excepted from the protection of article X, section 4.”
            Moreover, Plaintiffs’ exception arguments are based on Mr. Carollo’s actions as one of
  five Commissioners when the Commission passed redistricting legislation. This is a red herring
  because Mr. Carollo has legislative immunity and therefore his motive is irrelevant. See, e.g.,
  Bogan v. Scott-Harris, 523 U.S. 44, 55 (1998) (citation and internal quote omitted) (“it simply is
  not consonant with our scheme of government for a court to inquire into the motives of
  legislators.”); Scott v. Taylor, 405 F. 3d 1251, 1254 (11th Cir. 2005) (in § 1983 case alleging racial
  discrimination due to legislature’s adoption of new district map, court held the “legislator
  defendants enjoy legislative immunity protecting them from a suit challenging their actions taken
  in their official legislative capacities”); Martin v. Augusta-Richmond County, 2012 U.S. Dist.
  LEXIS 169099, *13, 2012 WL 5950408 (S.D. Ga. Nov. 28, 2012) “(The State Defendants’ failure
  to enact a redistricting plan was quintessentially legislative, and the State Defendants are entitled
  to legislative immunity for this action.”). See § III, infra.
            Even if this Court were to assume, arguendo, that either or both of Mr. and Mrs. Carollo
  abandoned the Homestead Property, which they did not, it would be unavailing because each had
  established and/or had reestablished the Homestead Property as their homestead well before
  February 1, 2024, as admitted by Plaintiffs (see DE 619 at 4). See, e.g., In re Fling, 449 B.R. 580,
  583 (Bankr. N.D. Fla. 2011) (“CCB has failed to rebut the presumption that Mr. Fling re-
  established his homestead at the Langston Property”). See § IV, infra.
      II.      This Court should enter an Order staying the March 19, 2024 Sale pending
               homestead determination by the Florida circuit court per F. S. § 222.01, et seq.


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         By their Response requesting discovery and an evidentiary hearing, Plaintiffs have
  conceded that this Court should enter an Order staying the Sale until the homestead status has been
  determined. Accordingly, the Court should expeditiously enter an Order canceling the March 19,
  2024 Sale and staying the Sale until a final determination of homestead has been made.
         Pursuant to the express provisions of Florida’s homestead statutes, the Florida circuit court
  has exclusive jurisdiction to determine homestead. Section 222.08, Florida Statutes (which
  Plaintiffs do not address), provides:
                 Jurisdiction to set apart homestead and exemption.—The circuit courts have
                 equity jurisdiction to order and decree the setting apart of homesteads and of
                 exemptions of personal property from forced sales.

         Furthermore, Section 222.01, Florida Statutes, sets forth the exact language of the statutory
  Notice of Homestead to creditors and it tells the creditors exactly what they “MUST” do, to wit,
  they “MUST FILE AN ACTION IN THE CIRCUIT COURT”:
                 YOU ARE FURTHER NOTIFIED, PURSUANT TO SECTION 222.01 ET
                 SEQ., FLORIDA STATUTES, THAT WITHIN 45 DAYS AFTER THE
                 MAILING OF THIS NOTICE YOU MUST FILE AN ACTION IN THE
                 CIRCUIT COURT OF COUNTY, FLORIDA, FOR A DECLARATORY
                 JUDGMENT TO DETERMINE THE CONSTITUTIONAL HOMESTEAD
                 STATUS OF THE SUBJECT PROPERTY OR TO FORECLOSE YOUR
                 JUDGMENT LIEN ON THE PROPERTY AND RECORD A LIS PENDENS
                 IN THE PUBLIC RECORDS OF THE COUNTY WHERE THE
                 HOMESTEAD IS LOCATED. YOUR FAILURE TO SO ACT WILL
                 RESULT IN ANY BUYER OR LENDER, OR HIS OR HER SUCCESSORS
                 AND ASSIGNS, UNDER THE ABOVE-DESCRIBED CONTRACT OF
                 SALE OR LOAN COMMITMENT TO TAKE FREE AND CLEAR OF ANY
                 JUDGMENT LIEN YOU MAY HAVE ON THE PROPERTY.

  Mr. and Mrs. Carollo each delivered to each of the Plaintiffs, Fuller and Pinilla, the statutory
  Notices of Homestead and therefore each of the Plaintiffs are aware that they “MUST FILE AN
  ACTION IN THE CIRCUIT COURT”. See DE 628-3, DE 628-4. Plaintiffs are not permitted to
  bypass or circumvent the required process and procedure.
         Plaintiffs address only § 222.10, Florida Statutes, which Plaintiffs quote only in part. See
  Response at 12-13. Section 222.10 works in tandem with the above-quoted §§ 222.01 and 222.08,
  to effectuate Florida’s Constitutional homestead exemption as set forth in § 222.01, et seq.
         While Plaintiffs acknowledge Rule 69(a), Fed. R. Civ. P., provides that the procedure on
  execution “must accord with the procedure of the state where the court is located”, they are

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  incorrect that Florida law has “nothing to say” about the Florida circuit court having exclusive
  jurisdiction. See Response at 12-13. The Florida procedure is that the circuit court has exclusive
  jurisdiction to make the homestead determination. See Section 222.01, et seq., Florida Statutes.
  Similarly, Plaintiffs’ characterization of Sepulveda v. Westport Recovery Corp., 145 So.3d 162,
  166 (Fla. 3d DCA 2014) (“The circuit court has exclusive jurisdiction to determine the validity of
  a claimed homestead exemption.”), as a “lone state-centric case” ignores the mandatory language
  of the above-quoted §§ 222.01 and 222.08, Florida Statutes. Indeed, Plaintiffs cite no contrary case
  but rather rely solely on cases arising under federal bankruptcy jurisdiction in which debtors
  voluntarily invoke the bankruptcy court’s protection. See Response at 13. That is not the case here.
  It is noteworthy that Bankruptcy Judge Mark, when presented with a debtor’s claim of homestead
  entitlement contested by a creditor, stated, “Florida law provides for the state circuit court to
  determine whether property is eligible for the constitutional homestead protection, see Fla. Stat. §
  222.08, if, as is the case here, entitlement to the homestead protection is contested by a creditor.”
  In re Mayhugh, 427 B.R. 549, 552 (Bankr. S.D. Fla. 2010). Moreover, in Havoco, the Eleventh
  Circuit Court of Appeal, recognizing that homestead determination is a state constitutional issue,
  referred it to the Florida Supreme Court for determination and response to the certified question.
  Accordingly, by concession of Plaintiffs, the Sale should be stayed while Plaintiffs attempt to
  obtain an adverse homestead determination in accordance with § 222.01, et seq., Florida Statutes.
     III.      The Homestead Property is each of Mr. Carollo’s and Mrs. Carollo’s
               Constitutionally protected Homestead Property and Plaintiffs are not entitled to
               create a new exception to Article X Section 4 of the Florida Constitution

            Mr. and Mrs. Carollo are each entitled to homestead protection. Each of the Carollos
  established the Homestead Property as their Constitutionally protected homestead before February
  1, 2024. See, e.g., Bessemer Properties, Inc. v. Gamble, 158 Fla. 38, 40 (Fla. 1946) (“It is only
  necessary that the homestead status attaches prior to the attachment of the creditors’ lien. This
  Court is committed to the doctrine that the transfer of homestead property is not a fraud on
  creditors. If the homestead status attached prior to proceedings to subject the property to creditors’
  lien, regardless of where the title is lodged, it is exempt.”); Nationwide Fin. Corp. v. Thompson,
  400 So. 2d 559, 561 (Fla. 1st DCA 1981) (“The material time for determining the priority of a lien
  over a claim of homestead exemption is the time the lien would have attached if homestead
  exemption were not applicable. In this case, the validity of the homestead claim must be evaluated


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  with regard to the period of time that Nationwide’s judgment was entered and recorded. If the
  property had attained its homestead status before this period of time, a subsequent sale of the
  homestead will not give effect to the attempted lien.”); Bendl v. Bendl, 246 So. 2d 574, 577 (Fla.
  3d DCA 1971) (citations omitted) (“The judgment against Charles was recorded in Dade County,
  Florida after the property was concededly occupied by him as homestead. Such judgments are not
  liens upon real property which is exempt from forced sale as homestead.”).
         Plaintiffs’ vitriolic accusations against Mr. Carollo of fraud, corruption, deception,
  misrepresentation, bad faith, gerrymandering, and misconduct are unavailing as each of the
  Carollos is entitled to homestead protection under the Florida Constitution and there is no
  exception which applies. As the Florida Supreme Court has consistently held, “this Court’s
  homestead exemption jurisprudence has long been guided by a policy favoring the liberal
  construction of the exemption[.] … A concomitant in harmony with this rule of liberal construction
  is the rule of strict construction as applied to the exceptions.” Havoco of Am. v. Hill, 790 So. 2d
  1018, 1021 (Fla. 2001). In Havoco, the debtor filed a voluntary Chapter 7 bankruptcy petition on
  July 2, 1992 in which he claimed that his Florida real property was exempt as his homestead under
  article X, section 4 of the Florida Constitution. The debtor had purchased the property on
  December 30, 1990, three (3) days before the judgment at issue became enforceable on January 2,
  1991. Id. at 1019. The Havoco Court emphasized, id. at 1022 (citation and quotation omitted):
                 Most significantly, article X, section 4 expressly provides for three exceptions
                 to the homestead exemption. Forfeiture is not one of them. According to the
                 plain and unambiguous wording of article X, section 4, a homestead is only
                 subject to forced sale for (1) the payment of taxes and assessments thereon; (2)
                 obligations contracted for the purchase, improvement or repair thereof; or (3)
                 obligations contracted for house, field or other labor performed on the realty.
                 Under the rule “expressio unius est exclusio alterious” --the expression of one
                 thing is the exclusion of another--forfeitures are not excluded from the
                 homestead exemption because they are not mentioned, either expressly or by
                 reasonable implication, in the three exceptions that are expressly stated.

  The Carollos’ Homestead Property is exempt from levy and Constitutionally protected under Art.
  X, § 4, Fla. Const., because none of the exceptions apply.
     a. Plaintiffs are not entitled to create a new exception that does not exist

         Plaintiffs are attempting to create a new exception to Florida’s strong homestead protection
  that does not exist. Again, this a determination for another day and another court. Specifically,


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  Plaintiffs absurdly claim that because Mr. Carollo, in carrying out his legislative duties along with
  the enter City Commission in redrawing district boundaries, somehow must forfeit or be
  disqualified from claiming the homestead exemption. Arguments have been made by creditors for
  decades and the courts regularly reject such arguments and hold that there is no exception in cases
  involving the debtor’s specific intent to defraud the creditor. In Havoco, 790 So. 2d at 1030
  (emphasis added), the Florida Supreme Court held that “a homestead acquired by a debtor with
  the specific intent to hinder, delay, or defraud creditors is not excepted from the protection
  of article X, section 4.” In fact, notorious wrongdoers whose actions were far more egregious than
  the acts alleged by Plaintiffs, including Roger Ailes and O.J. Simpson, have enjoyed homestead
  protection under Article X Section 4 of the Florida Constitution.
         In very limited circumstances “only where funds obtained through fraud or egregious
  conduct were used to invest in, purchase, or improve the homestead”, courts may permit an
  equitable lien. Havoco, 790 So. 2d at 1028. The Havoco Court declined to extend its extremely
  limited equitable lien jurisprudence any further:
                 The transfer of nonexempt assets into an exempt homestead with the intent to
                 hinder, delay, or defraud creditors is not one of the three exceptions to the
                 homestead exemption provided in article X, section 4. Nor can we reasonably
                 extend our equitable lien jurisprudence to except such conduct from the
                 exemption’s protection. We have invoked equitable principles to reach beyond
                 the literal language of the excepts only where funds obtained through fraud
                 or egregious conduct were used to invest in, purchase, or improve the
                 homestead.

  Plaintiffs attempt to create a new exception to the Constitution for an equitable lien “where the
  ‘fraud or outrageous conduct’ bears a nexus to the establishment of the homestead.” See Response
  at 16. Plaintiffs’ alleged fraud and misconduct of Mr. Carollo does not bear any nexus to his
  establishment of homestead. Importantly, Plaintiffs intentionally omit the Supreme Court’s
  requirement that “the funds obtained through fraud or egregious conduct were used to invest in,
  purchase or improve the homestead.” Havoco, 790 So. 2d at 1028. Plaintiffs do not claim that any
  such facts exist, nor could they. In fact, all of the legal authority they cite for an equitable lien is
  solely in the context of family law, a debtor using homestead protection to avoid alimony and/or
  child support payments. Again, that is not the case here.
         Plaintiffs argue that “an elected official who manipulates his government authority to craft
  the framework for his own homestead exemption claim forfeits the exemption”. See Response at

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  16. There is absolutely no such exception and Plaintiffs’ argument is based on gross
  mischaracterization of the facts and wild conspiracy theories.
         Mr. and Mrs. Carollo each had established the Homestead Property as their Homestead
  prior to the June 1, 2023 Judgment and the February 1, 2024 alleged lien. Under Florida law,
  “[t]hree requirements must be satisfied for real property to be impressed with the characteristics
  of homestead property under article X, section 4 of the Florida Constitution: (1) the property must
  be owned by a ‘natural person’; (2) the owner must have made, or intend to make the real property
  his or her permanent residence or that of his family; and (3) the property must meet the size and
  contiguity requirements of article X, section 4(a)(1) of the Florida Constitution.” Aronson v.
  Aronson, 81 So. 3d 515, 518 (Fla. 3d DCA 2012). Each of the Carollos meet these requirements
  and thus are entitled to Constitutional homestead protection as to the Homestead Property. The
  Homestead Property is owned by a natural person. Each of the Carollos have made and intended
  to make the Homestead Property their permanent residence and homestead; and the Homestead
  Property meets the size and contiguity requirements. Plaintiffs cannot and do not rebut these facts.
     Moreover, Plaintiffs admitted that Mr. and Mrs. Carollo are living in the Homestead Property
  since April 2023, well before February 1, 2024. See Motion at 6-7 (citing DE 619 at 4, Plaintiffs’
  admission, the trial transcript, etc.). Furthermore, the Homestead Property has been Mrs. Carollo’s
  protected homestead since she married Mr. Carollo and obtained an equitable interest in the
  Homestead Property (see, e.g., § 61.075, Florida Statutes).
     Assuming arguendo that Mrs. Carollo obtained her interest in the Homestead Property only via
  the May 16, 2023 deed, Mrs. Carollo’s interest in the Homestead Property would have still pre-
  existed the February 1, 2024 recordation of any judgment by Plaintiffs. As a matter of law, the
  subsequent Corrective Deed, dated February 5, 2024, relates back nunc pro tunc to May 16, 2023,
  the date of the initial deed (May 16, 2023). See, e.g. Sweat v. Yates, 463 So. 2d 306, 307 (Fla. 1st
  DCA 1984) (“[A] deed takes effect from the date of delivery, and the recording of a deed is not
  essential to its validity as between the parties or those taking with notice.”). “A reformation relates
  back to the time the instrument was originally executed and simply corrects the document’s
  language to read as it should have read all along.” Kartzmark v. Kartzmark, 709 So. 2d 583, 585
  (Fla. 4th DCA 1998) (citations and quotations omitted). And a corrective deed issued, even after
  perfection of a judgment against a judgment debtor, relates back to the date of the original deed,
  and avoids liability of said real property for any such judgment. See, e.g., Hurlbert v. Shackleton,

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   560 So.2d 1276, 1279 (Fla. 1st DCA 1990). Furthermore, given the homestead nature of the real
   property, Mr. Carollo could transfer the exempt property to his wife, or his wife and himself, at
   any time and it could not be set aside as a fraudulent conveyance. See, e.g., Bakst v. Levenson (In
   re Goldberg), 229 B.R. 877, 884 (Bankr. S.D. Fla. 1998) (citations and quotations omitted) (“as a
   matter of law, the Debtor could not have fraudulently transferred his exempt assets because under
   Florida law, a homestead cannot be fraudulently transferred.”).
      b. Plaintiffs’ arguments based on Mr. Carollo’s actions in connection with passing
         legislation are unavailing because Mr. Carollo has absolute legislative immunity

            Critically, the sole basis of Plaintiffs’ attempt to create a new exception “disqualifying”
   and “forfeit[ing]” Mr. Carollo’s homestead protection is his alleged motive as one of five
   Commissioners when the Commission passed redistricting legislation. Florida law is clear. First
   and foremost, redistricting is a legislative act. Wise v. Lipscomb, 437 U.S. 535, 539 (1978) (“The
   Court has repeatedly held that redistricting and reapportioning legislative bodies is a legislative
   task which the federal courts should make every effort not to pre-empt.”). In Scott, 405 F. 3d at
   1254, a § 1983 case alleging racial discrimination due to legislature’s adoption of new district map,
   the Eleventh Circuit held the “legislator defendants enjoy legislative immunity protecting them
   from a suit challenging their actions taken in their official legislative capacities”. See also, Martin,
   2012 U.S. Dist. LEXIS 169099 at *13 “(The State Defendants’ failure to enact a redistricting plan
   was quintessentially legislative, and the State Defendants are entitled to legislative immunity”).
            Legislators including Mr. Carollo have absolute immunity and courts will not inquire into
   the motives of legislators. See, e.g., Bogan, supra, 523 U.S. at 55; Yeldell v. Cooper Green Hosp.,
   956 F.2d 1056, 1062 (11th Cir. 1992) (citations omitted) (“Acts such as voting, speech making on
   the floor of the legislative assembly, preparing committee reports, and participating in committee
   investigations and proceedings, are generally deemed legislative and, therefore, protected by the
   doctrine of legislative immunity.”). Moreover, the alleged motive relied on by Plaintiffs is years
   before February 1, 2024 and over a year before the judgment.
            Accordingly, Plaintiffs’ sole basis to attempt to circumvent the Florida Constitution and
   Havoco categorically fails.
      IV.      Each of Mr. and Mrs. Carollo had established and/or had reestablished their
               Homestead Property before February 1, 2024




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       Neither Mr. nor Mrs. Carollo abandoned the Homestead Property, but that is a question for
   another court and another day. The questions that must be answered by a court with jurisdiction
   per Florida Statutes § 222.01, et seq., are: On February 1, 2024, assuming that Plaintiffs’
   recorded judgment was perfected, had Mr. Carollo and/or Mrs. Carollo established the
   Homestead Property as her homestead? If either or both questions are answered in the
   affirmative, the Homestead Property is exempt from Plaintiffs’ execution. Assuming arguendo that
   each of the Carollos had abandoned the homestead at some point, which neither of them did,3 it
   would be unavailing because each had reestablished the Homestead Property as their homestead
   before February 1, 2024. In re Fling, 449 B.R. at 583 (“CCB has failed to rebut the presumption
   that Mr. Fling re-established his homestead at the Langston Property, and therefore, CCB has failed
   to meet its evidentiary burden in objecting to his claim of the homestead exemption.”).
            Moreover, Florida law is clear that each of the Carollos established the Homestead Property
   as their Constitutionally protected homestead before February 1, 2024, as of at least April 2023,
   as admitted by Plaintiffs (DE 619 at 4). See, e.g., Bessemer, 158 Fla. at 40; Nationwide Fin. Corp.
   v. Thompson, 400 So. 2d at 561; Bendl, 246 So. 2d at 577.
       V.      Conclusion

            The Court should expeditiously enter a stay or alternatively a temporary injunction of the
   Sale of the Homestead Property scheduled for March 19, 2024, pending homestead determination.
   Mr. and Mrs. Carollo’s Constitutional Homestead Property must be protected.
                                    CERTIFICATE OF SERVICE
            I HEREBY CERTIFY that on this 27th day of February 2024, I electronically filed the
   foregoing with the Clerk of the Court using CM/ECF. I also certify that the foregoing document
   is being served this day on all counsel of record in this case.
                                                          Respectfully submitted,

                                                          KRINZMAN HUSS LUBETSKY

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    “In order to show abandonment, it must be shown that both the owner and the owner’s family
   abandoned the property.” Beltran v. Kalb, 63 So. 3d 783, 787 (Fla. 3d DCA 2011). “Consistent
   with the special status of Florida homestead, a finding of abandonment requires a ‘strong showing’
   of intent not to return to the homestead.” Yost-Rudge v. A to Z Props., 263 So. 3d 95, 97 (Fla. 4th
   DCA 2019). Plaintiffs have not and cannot satisfy this heavy burden. “There is a presumption
   against the abandonment of one’s homestead”. Burdick v. Burdick, 399 So. 2d 410, 413 (Fla. 3d
   DCA 1981). Plaintiffs have not and cannot overcome the presumption.
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